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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


ALLIED WORLD NATIONAL
ASSURANCE COMPANY

               Plaintiff,

          v.                                          Civil Action No. 16-710 CFC

JAMES R. BOLCH, PHILLIP DAMASKA, ED
MOPAS, JOHN HOGARTH, R. PAUL HIRT,
JR., EXIDE TECHNOLOGIES, and CRAIG
JALBERT, IN HIS CAPACITY AS TRUSTEE
OF THE VERNON TORT CLAIMS TRUST,

               Defendants.

                             STIPULATION OF DISMISSAL
        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the parties, by and through

their undersigned counsel, hereby stipulate to the dismissal of the above-captioned action with

prejudice, with each party to bear its own costs and attorneys’ fees.

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as Trustee of the Vernon Tort Claims Trust           Mopas, John Hogarth, R. Paul Hirt, Jr., and Exide
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